United States District Court

For the Northem Disu'ict of Califomia

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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA

DEAN ALEXANDER, No. C 05'00038 MHP
Plaintiff(s), ORDER
v.
FEDE`X GROUND PACKAGE,
Defendant(s). /

 

This matter having been stayed pending other proceedings, and there being no further reason
at this time to maintain the file as an open one for statistical purposes, the Clerk is instructed to
submit a JS-6 Forrn to the Aclministrative Office.

Nothing contained in this minute entry shall be considered a dismissal or disposition of this
action and, should further proceedings in this litigation become necessary or desirable, any party may

initiate it in the same manner as if this entry had not been entered

Dated: /p l 5/
MA L L PATEL
United States District Judge

 

